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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

DANIEL FERNANDES
                                    Plaintiff,

            vs.
                                                                Civil Action No. 1:20-cv-11612
MICHAEL SENA, Former Correctional Officer
BROCK MORRIS, Former Correctional Officer
EDWARD BOULEY, Former Lieutenant
JOHN MURPHY, Former Captain
STEVEN J. SOUZA, Superintendent, Bristol County
Sheriff’s Department
THOMAS M. HODGSON, Sheriff, Bristol County
BRISTOL COUNTY SHERIFF’S OFFICE
                            Defendants.



    DECLARATION OF JOANNA L. MCDONOUGH IN SUPPORT OF PLAINTIFF
           DANIEL FERNANDES’S THIRD MOTION TO COMPEL

       I, Joanna L. McDonough, hereby declare as follows:

       1.         I am an attorney in good standing in the Commonwealth of Massachusetts and am

an associate at the law firm of Foley Hoag LLP.

       2.         I represent Plaintiff Daniel Fernandes (“Mr. Fernandes”) in the above-captioned

matter in the United States District Court for the District of Massachusetts.

       3.         I respectfully submit this declaration in support of Mr. Fernandes’s Third Motion

to Compel Discovery from Defendants Steven J. Souza (“Superintendent Souza”) and Thomas M.

Hodgson (“Sheriff Hodgson” and collectively, “Defendants”).

       4.         I make this declaration based upon my personal knowledge.

       5.         On October 5, 2022, I served Plaintiff’s Second Sets of Requests for Production

(“Requests”) on counsel for Defendants.          Identical requests were sent individually to both



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Superintendent Souza and Sheriff Hodgson. The October 5, 2022 communication attaching the

Requests are appended hereto as Exhibit A.

       6.      The Requests call for the production of certain personnel files of BCSO correctional

officers who were the subject of internal investigations regarding their alleged misconduct.

Plaintiff also requested documents related to the underlying allegations of misconduct and the

investigations thereof. Finally, Plaintiff requested all documents and communications related to

the grievances filed by Defendants Sena and Morris following their termination from BCSO,

including all communications with the union that ultimately led to their reinstatement. These

Requests were promptly issued after reviewing documents produced pursuant to Plaintiff’s First

Sets of Requests and were served well within the fact discovery period, which ends on December

22, 2022.

       7.      Under the Federal Rules of Civil Procedure, Defendants’ deadline to respond was

November 4, 2022. Counsel for Defendants neither responded on November 4, 2022, nor did they

provide any explanation for their failure to meet the November 4, 2022 deadline.

       8.      On November 8, 2022, I emailed Defendants’ counsel inquiring when Plaintiff

should expect Defendants’ response to the Requests, which were overdue. The November 8, 2022,

email is appended hereto as Exhibit B.

       9.      Defendants did not respond to the November 8, 2022 email.

       10.     On November 15, 2022, I again emailed Defendants’ counsel asking them to

provide a date by which we could expect a response to Plaintiff’s Requests. In that communication,

I stated that if Defendants did not let us know when we could expect a response, we would be

forced to ask the court to intervene and compel production of the requested documents. The

November 15, 2022 email is appended hereto as Exhibit C.

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       11.    Defendants did not respond to the November 15, 2022 email.

       12.    On November 17, 2022, I emailed Defendants at 8:55am requesting their

availability for a meet-and-confer that day or the following day in a final attempt to avoid the

court’s intervention. The November 17, 2022 email is apprehended hereto as Exhibit D.

       13.    Defendants did not respond to the November 17, 2022 email.

       14.    As of the filing of this motion on November 22, 2022, Defendants have not

responded to or acknowledged any of Plaintiff’s communications regarding the Requests.

       I declare under the penalty of perjury that the foregoing is true and correct. Executed on

this 22nd day of November 2022.


                                                           /s/ Joanna L. McDonough
                                                           Joanna L. McDonough




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served by electronic means
through the CM/ECF filing system, concurrent with the filing of this document on the 22nd day of
November 2022 to:

       Bruce A. Assad
       16 Bedford Street
       Suite 3A
       Fall River, MA 02720
       (508) 673-2004
       Fax: (508) 674-5622
       BAALawFirm@aol.com

       Robert M. Novack
       Law Office of Robert M. Novack
       16 Bedford Street
       Fall River, MA 02720
       (508) 673-2004
       Fax: (508) 677-1803
       robert.novack@comcast.net


                                                           /s/ Joanna L. McDonough
                                                           Joanna L. McDonough




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